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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                                                      Electronically Filed
  THE HONORABLE ORDER OF                         )
  KENTUCKY COLONELS, INC.                        )
                                                 )
         PLAINTIFF                               )
  v.                                             ) CIVIL ACTION NO. 3:20-CV-132-RGJ
                                                 )
  KENTUCKY COLONELS                              )
  INTERNATIONAL, et al.                          )
                                                 )
         DEFENDANTS                              )


        PLAINTIFF’S MOTION TO HOLD PENDING MOTIONS IN ABEYANCE

        Plaintiff, The Honorable Order of Kentucky Colonels, Inc. (“HOKC”), by counsel, hereby

 moves the Court to hold certain motions, and specifically the response deadlines related to same,

 in abeyance pending the parties’ briefing and the Court’s subsequent ruling on whether Defendants

 are in violation of the Agreed Permanent Injunction [DE 93].

        Specifically, HOKC asks that the Court hold in abeyance HOKC’s time for filling

 responses to (1) Defendant’s Response to Court Order [DE-105], Counter-Response and

 Opposition to Plaintiff’s Response to the Court’s Show Cause Directive, and Motion to Charge

 Plaintiff for Contempt [DN 113] and (2) Defendants’ Special Motion to Dismiss SLAPP Action

 with Statements in Fact with Merit [DN 116]. HOKC should not have to respond to Wright’s

 frivolous, nonsensical, and stalling motion practice while HOKC is seeking to enforce this Court’s

 Agreed Permanent Injunction. Further, the briefing and subsequent order from this Court regarding

 whether Defendants are in contempt of the Agreed Permanent Injunction could render these two

 (2) pending motions moot such that no response is necessary. If, however, the Court’s order

 regarding whether Defendant is violating the Agreed Permanent Injunction does not render moot
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 these two (2) pending motions, then HOKC requests the Court issue a briefing schedule regarding

 same.

                                         CONCLUSION
         For the reasons stated herein, HOKC respectfully requests that the Court hold in

 abeyance HOKC’s time for filling responses to (1) Defendant’s Response to Court Order [DE-

 105], Counter-Response and Opposition to Plaintiff’s Response to the Court’s Show Cause

 Directive, and Motion to Charge Plaintiff for Contempt [DN 113] and (2) Defendants’ Special

 Motion to Dismiss SLAPP Action with Statements in Fact with Merit [DN 116].


                                            Respectfully submitted,

                                            /s/ Julie Laemmle Watts
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                                            Julie Laemmle Watts
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                                            Kentucky Colonels, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 15, 2023, I electronically filed the foregoing with the Clerk of
 the Court by using the CM/ECF system. I further certify that a true and correct copy of the
 foregoing has been served upon the following, via U.S. Mail and/or electronic mail, on the 15th
 day of May, 2023:

  Globcal International                         Ecology Crossroads Cooperative Foundation, Inc.
  c/o Maya-Lis A. Wright                        c/o Maya-Lis A. Wright
  302 General Smith Drive                       302 General Smith Drive
  Richmond, KY 40475                            Richmond, KY 40475

  David J. Wright
  302 General Smith Drive
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                                               /s/ Julie Laemmle Watts
                                               Counsel for Plaintiff, the Honorable Order of
                                               Kentucky Colonels, Inc.

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